          Case 1:17-cv-03139-LGS Document 160 Filed 09/12/18 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ X              9/12/18
                                                              :
 JAMES CONTANT, et al.,                                       :
                                                              :
                                              Plaintiffs, :         17 Civ. 3139 (LGS)
                                                              :
                            -against-                         :   OPINION AND ORDER
                                                              :
 BANK OF AMERICA CORPORATION, et al., :
                                                              :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

         WHEREAS Plaintiffs moved for leave to amend (Dkt. 138) in order to assert claims

under the Florida Deceptive and Unfair Trade Practices Act, Fl. Stat. § 501.201, et seq.;

         WHEREAS, pursuant to Fla. Stat. § 501.212(4)(c), the FDUTPA “does not apply to . . . .

Banks, credit unions, and savings and loan associations regulated by federal agencies.” It is

hereby

         ORDERED that, by September 19, 2018, Plaintiffs and Defendants shall each submit a

letter brief, not to exceed three pages, citing any applicable law and legislative history and

including any argument as to (1) what entities constitute “banks . . . regulated by federal

agencies” within the meaning of § 501.212(4)(c) and (2) which Defendants do or do not meet

that definition.

Dated: September 12, 2018
       New York, New York
